     Case:
    Case    18-80008, 07/03/2019,
         3:17-cv-05235-WHA        ID: 11353452,
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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                 June 28, 2019


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: Department of Homeland Security, et al.
          v. Regents of the University of California, et al.
          No. 18-587
          (Your No. 18-80008)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

       The petition for a writ of certiorari is granted. The petitions for writs
of certiorari before judgment in No. 18-588 and No. 18-589 are granted. The
cases are consolidated, and a total of one hour is allotted for oral argument.



                                        Sincerely,




                                        Scott S. Harris, Clerk
